Case 2:10-cv-02211-DMG-DTB Document 1009-1 Filed 08/17/18 Page 1 of 6 Page ID
                                 #:24866




                             EXHIBIT I
        Case 2:10-cv-02211-DMG-DTB ICE  Health 1009-1
                                    Document   Service Corps
                                                       Filed 08/17/18 Page 2 of 6 Page ID
                                            #:24867
                               Intake Screening (IHSC 795A-pilot)
Date and Time of arrival: ________________________                  Date and Time of Intake: __________________________
Was the prescreening Progress Note reviewed?  Yes  No
Patient was identified by (check 2 sources):  Wrist Band  in Picture  Verbally  Other: _____________
If detainee was transferred from another facility, did a medical transfer summary accompany the detainee? No  Yes  N/A
Subjective:
1. What language do you speak?  English  Spanish  Other: __________________
   Interpreter Provided?  Yes, Name or #: _______________________________
    No Interpreter utilized, Urgent or Emergent care: Explain:____________________________________________
    No, provider fluent in patient's native language.  Not Applicable, patient speaks English.
   Chaperone Present?  No  Yes, Name:________________________
   Do you have an email address?  No Yes, list email address ________________________________________
Medical Screening
2. How do feel today? (Explain in his/ her own words)___________________________________________________
3. Are you currently in pain?  No  Yes         If yes, complete pain assessment below:
   3a. Severity: (0-10 pain scale):                                3b. The pain began:
   ____________________________________________________________________________________________
   3c. The Pain is located                                         3d. The character of pain
   ______________________________________________________________________________________________
   3e. Are there any aggravating or alleviating factors? No Yes, explain: __________________________________
   _____________________________________________________________________________________________
 4. Do you have any current or past medical problems? No Yes If yes explain: ______________________________
    ______________________________________________________________________________________________
 5. Have you ever had a head injury or head surgery that affected your activities of daily living?  No Yes
    If yes, explain: ___________________________________________________________________________________
 6. Have you ever had seizures?  No Yes If yes, explain:_________________________________________________
 7. Are you currently or have you ever taken medications on a regular basis, including over the counter and herbal?
    No Yes If yes, explain:_________________________________________________________________________
    7a. Do you have your medications with you? No Yes, List Medications:_____________________________________
    ________________________________________________________________________________________________
 8. Do you have any allergies to include allergies to medication or food? No Yes If yes, list medications/food:
    _______________________________________________________________________________________________
 9. Are you now or have you ever been treated by a doctor for a medical condition to include hospitalizations, surgeries,
    infectious or communicable diseases?  No Yes If yes, explain:__________________________________________
    _______________________________________________________________________________________________
10. In the past 2 months, have you experienced any of the following symptoms continuously for more than 2 weeks?
    A cough? No Yes If yes, explain: _________________________________________________________________
    Coughing up blood? No Yes If yes, explain: _________________________________________________________
    Chest Pain? No Yes If yes, explain:_______________________________________________________________
    Fever, chills, or night sweats for no reason? No Yes If yes, explain:_______________________________________
    Loss of appetite? No Yes If yes explain:____________________________________________________________
    Unexplained weight loss? No Yes If yes, explain: ____________________________________________________




Last Name:                                              First Name:

A#:                                                     Nationality:

Date of Arrival:                                        DOB:

Facility:                                               Sex:

IHSC 795A-pilot    4/2018                            Page 1 of 5
                                      ICE Health Service Corps
        Case 2:10-cv-02211-DMG-DTB Document 1009-1 Filed 08/17/18 Page 3 of 6 Page ID
                           Intake Screening (IHSC  795A-pilot) (continued)
                                              #:24868
12. Do you have a previous history of TB?  No  Yes, explain:__________________________________________
    Symptom screening with positive response(s) is concerning for active TB:  No  Yes
13. Have you had any recent acute changes with your vision or hearing? No  Yes, explain:__________________
14. Do you have any specific dietary needs?  No  Yes, explain: ___________________________________________
15. Are you transgender? No  Yes. What is your gender self-identification? ________________________
   15a. What transition related care have you had?_________________________________________________________
16. Have you ever had the chicken pox?  No  Yes  Unsure

(Females only)
17. Are you currently breast feeding?  No  Yes
    Are you currently pregnant?  No  Yes If no, skip to question 18. When was the first day of your LMP _________?
    Date of Conception: ________________________                Estimated due date:______________________
    Calculated Gestational Age:__________________               Have you had any leakage of fluid?  No  Yes
    Have you had any vaginal bleeding? No  Yes                Have you had any contractions?  No  Yes
    Have you had dysuria? No Yes           Have you been taking a prenatal vitamin daily?  No  Yes
   Are you currently receiving prenatal care? No Yes Where are you receiving care?__________________
   When was your last prenatal visit?___________________ Have you had any fetal movement?  No  Yes
   Has there been any change in the frequency or intensity of fetal movement?  No  Yes
   Is the patient identified as a high-risk pregnancy?  No  Yes
   What countries or territories have you traveled to or from during your pregnancy? __________________________
   In the past 2 weeks have you experienced any of the following: muscle and joint aches, rash, weepy, crusty and/or
   red eyes, or sudden fatigue?  No  Yes, will schedule in 2 weeks for serologic testing.
18. Have you ever been pregnant?  No  Yes      If yes, how many pregnancies have you had? # ____
   How many live births? #_____     How many full term births? #_______ How many living children? # _______
   How many preterm births? #____ How many abortions? # _____ How many living children? #______
19. Have you had unprotected sex in the past 5 days?  No Yes, explain:______________________________
    If yes, would you like to speak to a medical provider about emergency contraception to prevent a possible pregnancy?
   No  Yes, refer to a medical provider.
Oral Screening
20. Are you having any significant dental problems?  No  Yes If yes, explain: ____________________________
Mental Health Screening
21. Have you ever received counseling for mental health problems? No Yes, will refer for a mental health assessment.
    If yes, explain:____________________________________________________________________________________
    ________________________________________________________________________________________________
22. Have you ever received medication for mental health problems? No Yes, will refer for a mental health assessment.
    If yes, explain:____________________________________________________________________________________
    ________________________________________________________________________________________________
23. Have you ever received treatment or hospitalization for mental health problems?  No  Yes, will refer for
    mental health assessment. Explain: ________________________________________________________________
24. Have you ever tried to kill yourself?  Denies  Admits, method:  Gun  Hanging  Cutting Skin  Pills  Other
    24a. When was the last time you thought about killing yourself?  Within the last 12 months,will refer for a mental
    health assessment  More than 12 months ago?  More than four years ago?

Last Name:                                               First Name:

A#:                                                      Nationality:

Date of Arrival:                                         DOB:

Facility:                                                Sex:

IHSC 795A-pilot    4/2018                            Page 2 of 5
        Case 2:10-cv-02211-DMG-DTB Document 1009-1 Filed 08/17/18 Page 4 of 6 Page ID
                                       ICE Health Service Corps
                                              #:24869
                            Intake Screening (IHSC 795A-pilot) (continued)

25. Are you currently thinking about killing yourself?  Denies  Admits - Will ensure safety and consult immediately
   with BHP, APP, or MD; Refer for mental health assessment.
26. Have you ever tried to harm yourself?  Denies  Admits.  If admits within the last 12 months, will refer for
   mental health assessment.          More than 12 months ago?  More than four years ago?
27. Are you currently thinking about harming yourself?  Denies  Admits - Will ensure safety and consult immediately
   with BHP, APP, or MD; Refer for mental health assessment.
28. Do you have a history of assaulting others?  No  Yes, will refer for a mental health assessment.
   If yes, explain: ________________________________________________________________________________
29. Do you ever hear voices that others do not hear?  No  Yes, will refer for a mental health assessment.
   If yes, explain: ________________________________________________________________________________
30. Do you ever see things that others do not see?  No  Yes, will refer for a mental health assessment.
   If yes, explain: _______________________________________________________________________________
31. Do you believe someone can control your mind?  No  Yes, will refer for a mental health assessment.
    If yes, explain:_______________________________________________________________________________
32. Have you been a victim of physical abuse?  Denies  Admits
    Did this happen in the last 6 months  No  Yes, will refer for a mental health assessment.
33. Have you been a victim of sexual abuse?  Denies  Admits
    Did this happen in the last 6 months  No  Yes, will refer for a mental health assessment.
34. Do you feel that you are currently in danger of being physically or sexually assaulted?  No  Yes
    If yes, explain:_______________________________________________________________________________
35. Have you ever sexually assaulted anyone?  No  Yes, will refer for mental health assessment.
    If yes, explain: _______________________________________________________________________________
    Trauma Screening
36. Have you ever witnessed, experienced an event that involved actual or threatened death or serious injury?  No  Yes
    If yes, is this experience causing significant distress or impairment in your life?  No  Yes, will refer for
    mental health assessment.



Learning/Cultural/Religious Assessment
37. Is there anything important to know about your religious or cultural beliefs that are of concern to you while in detention?
    No  Yes, explain: ____________________________________________________________________________
38. Have you ever had difficulties learning?  No  Yes, Explain:____________________________________________
39. Do you have difficulties reading or writing?  Reading  Writing  No
40. Do you ever have difficulties understanding written information?  No  Yes, explain:__________________________
41. Have you received help for a developmental disability or learning disability?  No  Yes, will refer for mental
    health assessment. Explain: _________________________________________________________________________




Last Name:                                                  First Name:

A#:                                                         Nationality:

Date of Arrival:                                            DOB:

Facility:                                                  Sex:

IHSC 795A-pilot     4/2018                               Page 3 of 5
                                       ICE Health1009-1
        Case 2:10-cv-02211-DMG-DTB Document       ServiceFiled
                                                          Corps08/17/18 Page 5 of 6 Page ID
                                              #:24870
                            Intake Screening (IHSC 795A-pilot) (continued)

Substance Use/Abuse Screening
 42. Do you now or have you ever used tobacco products?  No  Yes (If yes, give details below)
 43. Do you now or have ever drank alcohol?  No  Yes (If yes, give details below)
 44. Have you ever been treated or hospitalized for alcohol problems?  No  Yes
 45. Have you ever had alcohol withdrawal?  No  Yes
 46. Do you now or have you ever used drugs?  No  Yes (If yes, give details below)
 47. Have you ever been treated or hospitalized for drug problems?  No  Yes
 48. Have you ever suffered from drug withdrawal?  No  Yes
    Substance Use/Route of Use                     Date of last Use                  Amount/Quantity Last Used




Objective:
  Patient appears to have normal  physical characteristics  emotional characteristics, and
   no barriers to communication.
   Patient appears oriented to person, place, time and situation.
  Explain any abnormalities the patient appears to have: ____________________________________________________


If you observe any of the following, check the appropriate box:
  Low vision                    Skin broken out in bumps/rash          Cuts, bruises, jaundice, lesions, scars or tattoos
  Shaking/tremors               Hearing difficulty/impairment          Difficulty when forming speech
  Excessive sweating            Abnormal breathing                     Needle tracks
  Glasses or contacts           Nits or active lice
 Mobility Impairment: Wheelchair, crutches, prosthesis, cane, other ______
Comments: ________________________________________________________________________________________
            ________________________________________________________________________________________
            ________________________________________________________________________________________



Vital Signs
T _____ P _____ Resp. ________ BP_______ Hgt._______ Wt_______HGC Results:  Pos  Neg                      N/A (male)

Assessment:
Initial Medical Screening:     00.2 Normal Intake Screening  00.4 Abnormal Intake Screening




Last Name:                                               First Name:

A#:                                                      Nationality:

Date of Arrival:                                         DOB:

Facility:                                                Sex:

IHSC 795A-pilot    4/2018                             Page 4 of 5
        Case 2:10-cv-02211-DMG-DTB ICEDocument
                                         Health 1009-1   Filed 08/17/18 Page 6 of 6 Page ID
                                                 Service Corps
                                              #:24871
                           Intake Screening (IHSC 795A-pilot) (continued)


Plan:
Disposition:
 Medically cleared for custody                                Medically cleared for custody; Pending Chest X-ray results
 Medically cleared for custody; Pending TB clearance          Medically cleared for custody; with TB clearance
 Medically cleared for custody: Negative Chest X-ray          Medically cleared for custody, follow up visit scheduled
 Medically cleared,follow up visit scheduled, pending chest X-ray
 Referral to appropriate health care services for emergency treatment
 Admitted to MHU until medically evaluated                    Care transferred to provider for urgent needs

Education:
 Tuberculosis and CXR explained to patient and process completed with appropriate shielding
 Physical exam scheduled for patient
 Access to medical/dental/mental health care via sick call, grievance process explained to patient,
 Patient given the Dealing with Stress and Medical Orientation and Health Information Brochure in the patient's language
 Patient verbalized understanding of any teaching or instruction
 Patient was asked if he or she had any additional questions, and any questions were addressed

Care/               Physical exam scheduled for patient on:___________________(date).
Interventions/      The following care/treatment was given during this intake screening:
Follow-up:
                   ____________________________________________________________________________________
                   ____________________________________________________________________________________




Provider's Signature                Stamp/Printed Name                      Date                 Time



Reviewer's Signature                 Stamp/Printed Name                     Date                  Time



Last Name:                                                First Name:

A#:                                                       Nationality:

Date of Arrival:                                          DOB:

Facility:                                                 Sex:

IHSC 795A-pilot      4/2018                             Page 5 of 5
